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| || Ronald Cupp
150 Raley Town Center Ste 2512 Fiy L
2 || Rohnert Park, California [94928] Ee D
Telephone: (707) 318-9929
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q h UNITED STATES DISTRICT COURT E D fT
9 NORTHERN DISTRICT OF CALIFORNIA
° 3010
1 RONALD CUPP, ) Mo. 1 5 1
)
12 Plaintiffs, ) VERIFIED COMPLAINT FOR DAMAGES
)
13 Vs. ) VIOLATION OF 47 USC 227 et seq. TCPA;
14 ) VIOLATION OF 15 USC 1692 ef seq.
SETH J. FEINBERG: ) FDCPA;
15 ) VIOLATION OF CALIFORNIA
Defendant. ) ROSENTHAL FAIR DEBT COLLECTION
16 ) PRACTICES ACT CC 1788 et seq.
)
ie ) DEMAND FOR TRIAL BY JURY
18 )
)
- COMPLAINT
20
Plaintiff, RONALD CUPP, individually hereby sues Defendant SETH J. FEINBERG. for
21
59 violations of the FDCPA 15 USC §1692, violations of the TCPA 47 USC §227, and the
23 || California Rosenthal Fair Debt Collection Practices Act Civil Code 1788.
24 PRELIMINARY STATEMENT
25 1. This is an action for damages and injunctive relief brought by Plaintiff against Defendant
26
for violations of the Telephone Consumer Protection Act (TCPA) 47 USC §227(b)(1)(A),
27
28 Telephone Consumer Protection Act (TCPA) 47 USC §227(b)(1)(A)(iii), Fair Debt

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Collection Practices Act (FDCPA) 15 U.S.C. §1692c(a)(1), Fair Debt Collection
Practices Act (FDCPA) 15 U.S.C. §1692d(5) and Fair Debt Collection Practices Act
(FDCPA) 15 U.S.C. §1692d(6), Fair Debt Collection Practices Act (FDCPA) 15 U.S.C.
§1692e(10), the California Rosenthal Fair Debt Collection Practices Act (CFDCPA).

2. Plaintiff contends that the Defendant has violated such laws by repeatedly harassing
Plaintiff in attempts to collect alleged but nonexistent debt.

JURISDICTION AND VENUE

3. Jurisdiction of this Court arises under 47 U.S.C. §227(b)(3), 15 U.S.C. §1692k(d),
California Stat. § 1788, and supplemental jurisdiction exists for the state law claims
pursuant to 28 U.S.C. §1367, Jurisdiction arises under Cal. Civ. Pro. §410.10. Defendant
conducts business in the state of California and therefore, personal jurisdiction is
established.

4. Venue is proper pursuant to 28 U.S.C. §1391b and Cal. Civ. Pro. §395(a). Venue in this
District is proper in that the Plaintiff resides here, the Defendants transact business here,
and the conduct complained of occurred here.

PARTIES

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Plaintiff, RONALD CUPP, (“CUPP”) is a natural person and is a resident of Sonoma

County, California.

6. Upon information and belief Defendant, SETH J. FEINBERG (“FEINBERG”) is a
natural person who’s office is at 1000 Broadway, Suite 200H, Oakland, CA 94607.

7. Defendant SETH J. FEINBERG is a debt collector, subject to the Fair Debt Collection

Practices Act, 15 U.S.C. §1692 & seq. (**FDCPA’’).

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VERIFIED COMPLAINT FOR DAMAGES Page 2

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8. Defendant SETH J. FEINBERG is an attorney, an entity which collects debts, bringing it
within the ambit of the California Rosenthal Fair Debt Collection Practices Act Civil
Code 1788 (‘“‘CFDCPA’’).

FACTUAL ALLEGATIONS

9. Plaintiff has no prior or present established relationship with the Defendant SETH J.
FEINBERG.
10. Plaintiff has never given Defendant express permission to call Plaintiff's cellular phone.

11. Plaintiff has no contractual obligation to pay Defendant SETH J. FEINBERG.

12. On June 4, 2015 at 12:07 p.m. Defendant SETH J. FEINBERG called Plaintiff's cell
phone 707-318-9929 from number 510-648-3533 with no prior permission given by
Plaintiff. (Exhibit A).

13. On June 4, 2015 at 12:07 p.m. Defendant SETH J. FEINBERG asserted a right which it
lacks, to wit, the right to enforce a debt.

14. On June 4, 2015 at 12:07 p.m. Defendant SETH J. FEINBERG failed to identify that they
were debt collectors attempting to collect a debt.

15. On June 4, 2015 Defendant SETH J. FEINBERG attempted to collect a debt by
attempting rescission of Plaintiffs valid negotiable instrument(s), to wit: a private
promissory note and Deed of Trust.

16. On June 12, 2015 Defendant SETH J. FEINBERG continued to collect a debt by
attempting an Ex-Parte Hearing in Alameda Superior Court Case RG15756876, by false
and deceptive means, stating service (collection attempt) was proper in February 2015.

COUNT I

VIOLATIONS OF THE TELEPHONE COMMUNICATIONS ACT 47 U.S.C.
§227(b)(1)(A)(iii) BY DEFENDANT SETH J. FEINBERG.

17. Plaintiff alleges and incorporates the information in all previous paragraphs.

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18. Defendant SETH J. FEINBERG has called the Plaintiffs cellular phone contrary to 47
U.S.C. §227(b)(1)(A)(iii).
19. 47 U.S.C. §227(b)(1)(A)(iii) states in part;

(1) PROHIBITIONS.—It shall be unlawful for any person within the United States, or any
person outside the United States if the recipient is within the United States—

(A) to make any call (other than a call made for emergency purposes or made with the prior
express consent of the called party) using any automatic telephone dialing system or an
artificial or prerecorded voice—

(iii) to any telephone number assigned to a paging service, cellular telephone service,
specialized mobile radio service, or other radio common carrier service, or any service for
which the called party is charged for the call;

20. Defendant SETH J. FEINBERG has demonstrated willful or knowing non-compliance
with 47 U.S.C. §227(b)(1)(A)(iii) by calling the Plaintiffs number, which is assigned to al
cellular telephone service. The Plaintiff has never given SETH J. FEINBERG permission
to call Plaintiffs cellular phone. The call is subject to treble damages pursuant to 47
U.S.C. §227(b)(3) as it was intentional. An unintentional call carries a damage amount of
$500; an intentional call carries a damage amount of $1,500 per violation.

21. Plaintiff and SETH J. FEINBERG do not have an established business relationship within
the meaning of 47 U.S.C. §227. Plaintiff is entitled to damages of $1500 per violation
pursuant to 47 U.S.C. §227(b)(3)(B).

WHEREFORE, Plaintiff demands judgment for damages against SETH J. FEINBERG for
actual, statutory, and punitive damages, attorney's fees and costs, pursuant to 47 U.S.C §227.
COUNT II

VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C.
§1692c(a)(1) BY DEFENDANT SETH J. FEINBERG.

22. Plaintiff alleges and incorporates the information in all previous paragraphs.

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VERIFIED COMPLAINT FOR DAMAGES Page 4

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23.

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25.

WHEREFORE, Plaintiff demands judgment for damages against SETH J. FEINBERG for

actual, statutory, and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §1692.

VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C.

28.

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. Such communication is prohibited by 15 U.S.C. §1692c(a)(1).

. 15 U.S.C. §1692c(a)(1) states in part;

. Defendant SETH J. FEINBERG violated 15 U.S.C. §1692d(5) by calling the Plaintiff

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Defendant SETH J. FEINBERG placed telephone call to the Plaintiffs cellular
telephone.

Defendant knew or should have known that the phone calls made were inconvenient to
the consumer.

Defendant SETH J. FEINBERG violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff's

cellular phone no prior permission given by Plaintiff.

(a) COMMUNICATION WITH THE CONSUMER GENERALLY. Without the prior
consent of the consumer given directly to the debt collector or the express permission of a
court of competent jurisdiction, a debt collector may not communicate with a consumer in
connection with the collection of any debt—

(1) atany unusual time or place or a time or place known or which should be known to be
inconvenient to the consumer. In the absence of knowledge of circumstances to the contrary,
a debt collector shall assume that the convenient time for communicating with a consumer is
after 8 o’clock antimeridian and before 9 o’clock postmeridian, local time at the consumer’s
location;

COUNT Il

§1692d(5) BY DEFENDANT SETH J. FEINBERG.

Plaintiff alleges and incorporates the information in all previous paragraphs.

causing the Plaintiff's phone to ring with the intent to annoy, abuse, or harass the Plaintiff
with no prior permission given by Plaintiff.
This intentional calling by SETH J. FEINBERG has caused the Plaintiff undue stress,

relationship issues, nervousness and embarrassment.

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31. 15 U.S.C. §1692d(5) states in part;

A debt collector may not engage in any conduct the natural consequence of which is to
harass, oppress, or abuse any person in connection with the collection of a debt. Without
limiting the general application of the foregoing, the following conduct is a violation of this
section:

(5) Causing a telephone to ring or engaging any person in telephone conversation

repeatedly or continuously with intent to annoy, abuse, or harass any person at the called
number.

WHEREFORE, Plaintiff demands judgment for damages against SETH J. FEINBERG for
actual, statutory, and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §1692.

COUNT IV
VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C.
§1692e(10) BY DEFENDANT SETH J. FEINBERG.

32. Plaintiff alleges and incorporates the information in all previous paragraphs.

33. Defendants SETH J. FEINBERG violated 15 U.S.C. §1692e(10) by the use of a false
representation or deceptive means to collect or attempt to collect a debt or to obtain
information concerning a consumer.

34. 15 U.S.C. §1692e(10) states in part;

A debt collector may not use any false, deceptive, or misleading representation or means in
connection with the collection of any debt. Without limiting the general application of the
foregoing, the following conduct is a violation of this section:

(10) The use of any false representation or deceptive means to collect or attempt to collect
any debt or to obtain information concerning a consumer.

WHEREFORE, Plaintiff demands judgment for damages against SETH J. FEINBERG for
actual, statutory, and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §1692.

COUNT V
VIOLATION OF VIOLATION OF CALIFORNIA ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT CC 1788 et seq. BY DEFENDANT SETH J.
FEINBERG.

35. Plaintiff alleges and incorporates the information in all previous paragraphs.

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36. Plaintiff is a consumer within the meaning of 15 USC 1692 ef seg.

37. Defendant is seeking to collect a consumer debt from Plaintiff as defined by Cal. Civ.
§1788(f).

38. The account in question is a consumer credit transaction ad defined by Cal. Civ.
§17882(e) as Plaintiff has allegedly received property, services or money from the
Defendants client on an extension of credit and such property, services or money was
used primarily for personal, family or household purposes.

39. Defendant violated §1788.11(d) of the CFDCPA by placing collection calls to Plaintiff
and required Court Appearance so as to annoy Plaintiff.

40. Defendant violated §1788.11(e) of the CFDCPA by placing collection calls to Plaintiff
and requiring court appearance with such frequency as to be unreasonable and to
constitute a harassment to Plaintiff under the circumstances.

41. Defendant violated the §1788.17 of the CFDCPA by continuously failing to comply with
the statutory regulations contained with the FDCPA 15 USC §1692 et seg.

i. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

consequence of which is to harass, oppress, or abuse the Plaintiff.

il. Defendant violated §1692d(5) of the FDCPA by causing a telephone ring and

requiring court appearance with the intent to annoy, abuse, and harass Plaintiff.
WHEREFORE, Plaintiff demands judgment for damages against SETH J. FEINBERG for
actual, statutory, and attorney’s fees pursuant to §1788.30(b) and costs, pursuant to §1788.30(c).

DEMAND FOR TRIAL BY JURY

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Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

UL is 29" of June, 2015

oho CUPP

150 Raley Town Center Ste 2512
Rohnert Park, California [94928]
707-318-9929
ronc2009@gmail.com

VERIFICATION

Declarations of Ronald Cupp

I, Ronald Cupp declare as follows:

1. | am the Plaintiff in the above entitled matter.

2. I am of age, sound of mind and competent to testify to facts based on first
hand knowledge of above items so stated.

3. I have been damaged financially, socially and emotionally as a result of
Defendant’s unlawful actions and conduct.

4. | have read the foregoing pleading and know the facts therein stated to be
true and correct.

5. I declare, under penalty of perjury pursuant to the laws of California and the
United States, that the foregoing is true and correct to the best of my

knowledge, information and belief.

Ronald Saal rieleant La)

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RONALD CUPP
15 ECHO AVE

CORTE MADERA, CA 94925-1826

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707 318-9929

RONALD CUPP }
Call Detail - Continued
Place Rate Feature Airtine LD/ Add)
Time Called == Number Called © Code Code Hin Charges Charges
Monday, 06/01
09:23a SNFCC CA 415-377-8090 SDDV 3 0.00 0.00
09:44a FRNK ACA 510-396-7189 SDDV 1 0.00 0.00
09:59a INCOMI CL 707-393-8239 SDDV 14 0.00 0.00
10:22a SANTA CA 707-953-3552 S0DV | 0.00 0.00
10:26a INCOM] CL 707-483-7689 SDDV 2 0.00 0.00
11:21a INCOMI CL 415-453-8927 SDDV 2 0.00 0.00
11:35a SANTA CA 707-888-8257 SDDV 2 0.00 0.00
41:52a INCOMI CL 707-478-2012 SDOV { 0.00 0.00
12:40p SNFCC CA 415-377-8090 SDDV 2 0.00 0.00
01:09p SANTA CA 707-478-2012 SDDV 1 0.00 0.00
O1:10p SANTA CA 707-545-3386 SDDV { 0.00 0.00
01:23p INCOMI CL 415-377-8090 SDDV 1 0.00 0.00
01:33p SNFC CCA 415-377-8090 SDDV { 0.00 0.00
02:27p INCOM CL 707-478-2012 SDDV 2 0.00 0.00
02:29p SAUSAL CA 415-480-9691 SD0V 1 0.00 0.00
02:41p INCOM CL 415-480-9691 SODV 1 0.00 0.00
03:32p SNFCC CA 415-377-8090 SODV i 0.00 0.00
03:33p INCOM] CL 415-377-8090 SDDV 1 0.00 0.00
04:08p INCOME CL 707-321-3711 SDDV 4 0.00 0.00
04:43p INCOM CL 415-377-8090 SDDV 1 0.00 0.00
04:43p INCOME CL 707-280-7425 SDDV 2 0.00 0.00
06:13p INCOM] CL 415-377-8090 SDDY 3 0.00 0.00
07:45p SANTA CA 707-321-3711 SODV 8 0.00 0.00
08:06p SANTA CA 707-321-3711 SDDV 4 0.00 0.00
08:27p SANTA CA 707-321-3711 SDDV 1 0.00 0.00
08:29p SNFC CCA 415-377-8090 SODV 1 0.00 0.00
08:30p INCOME CL 707-321-3711 SDDV 3 0.00 0.00
08:39p INCOME CL 510-396-7189 SDDV 13 0.00 0.00
Tuesday, 06/02
08:50a SANTA CA 707-888-8257 SDDV 2 0.00 0.00
10:0fa INCOM] CL 707-321-3711 SODV 2 0.00 0.00
10:02a SANTA CA 707-322-1280 SDDV 7 0.00 0.00
10:11a INCOMI CL 707-321-3711 SDDV 10 0.00 0.00
10:20a CALL WAIT 707-322-1280 SODV 6 0.00 0.00
10:26a SANTA CA 707-321-3711 SDDV 7 0.00 0.00
10:33a INCOM] CL 707-321-3711 SDDV 4 0.00 0.00
14i:11a INCOMI CL 707-321-3711 SDDV 4 0.00 0.00
11:30a INCOM CL 707-483-7689 SODV 40 0.00 0.00
12:00p SAUSAL CA 415-480-9691 So0V 1 0.00 0.00
12:10p SNFC CCA 415-377-8090 SODV 7 0.00 0.00
12:33p INCOM] CL 347-662-2497 SDDV { 0.00 0.00
04:08p INCOMI CL 707-321-3711 SDDV i 0.00 0.00
01:09p SANTA CA 707-321-3711 SDDV 9 0.00 0,00
O1:2ip SNFC CCA 415-377-8090 SDDV 2 0.00 0.00
01:23p SAUSAL CA 415-480-9691 SODV 1 0.00 0.00
O1:24p INCOMI CL 415-480-9691 SODV 1 0.00 0.00
O1:47p INCOM] CL 661-623-9396 SDDV 12 0.00 0.00
09:47p INCOM] CL 707-321-3711 SDOV 13 0.00 0.00

EXIT Xt

Place
Tine Called
Wednesday, 06/03
09:24a INCOMI CL
11:35a  INCOMT CL
12:47p  INCOMI CL
12:52p PTLM HCA
04:06p SANTA CA
04:32p ABBEVI LA
O7:0ip SNFC CCA
07:02p SANTA CA
07:09p INCOMI CL
07:13p —INCOMI CL
Thursday, 06/04
09:15a SAN RA CA
09:50a SANTA CA
09:57a SANTA CA
10:01a SAUSAL CA
10:02a INCOM CL
10:56a INCOMI CL
11:02a SANTA CA
11:05a  INCOMI CL
11:12a SANTA CA
11:29a INCOMI CL
11:38a SANTA CA
11:42a SANTA CA
12:03p INCOMI CL
12:07p INCOMI CL
42:51p INCOMI CL
01:36p — INCOHT CL
Ot:4ip ABBEVI LA
Q1:44p  SAUSAL CA
01:44p CALL WAIT
O1:47p PTLM NCA
02:40p SANTA CA
02:42p CORTMA CA
02:53p  SAUSAL CA
02:53p PTLM HCA
02:54) + PTLN MCA
02:56p INCOMI CL
03:0ip  SAUSAL CA
03:02p SANTA CA
03:13p SANTA CA
03:18p INCOME CL
03:25p INCOMI CL
04:12p —INCOMI CL
O5:11p Toll F CL
05:19p INCOMI CL
07:35p INCOMT CL
Friday, 06/05
09:34a SANTA CA
09:53a INCOMI CL
10:19a SNFC C CA
11:46a  FRNK MCA
12:38p SANTA CA
02:00p SANTA CA
02:15p SANTA CA

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Page:

Bill Cycle Date:
Account:

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05/17/15 - 06/16/15

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Number Called

707-696-2902
707-527-1015
707-324-3711
707-364-1340
707-217-5013
337-422-9200
415-377-8090
707-332-6176
415-377-8090
707-322-1280

415-444-7180
707-542-1154
707-542-1154
415-480-9691
415-480-9691
707-235-9842
707-483-7689
707-235-9842
707-235-9842
707-322-1280
707-235-9842
707-543-3006
415-453-3453
510-648-3533
707-787-7174
415-377-8090
937-422-9200
415-272-6893
337-422-9200
107-787-7174
707-217-5013
415-924-3625
415-480-9691
707-787-7174
707-787-7171
107-787-7174
415-272-6893
707-322-1280
707-332-6176
415-480-9694
415-272-6893
707-217-5013
800-488-1490
707-332-6176
107-892-3297

707-486-4486
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